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9    UNITED STATES OF AMERICA

10                           UNITED STATES DISTRICT COURT

11                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,                No. CR 17-206(A)-JAK

13             Plaintiff,                     GOVERNMENT’S SENTENCING POSITION
                                              REGARDING DEFENDANT TREVON MAURICE
14                   v.                       FRANKLIN; EXHIBITS

15   TREVON MAURICE FRANKLIN,                 Sentencing Date: Sep. 27, 2018
                                              Sentencing Time: 8:30 a.m.
16             Defendant.                     Location:        Courtroom of the
                                                               Hon. John A.
17                                                             Kronstadt

18

19        Plaintiff United States of America, by and through its counsel
20   of record, the United States Attorney for the Central District of
21   California and Assistant United States Attorney Jennie L. Wang,
22   hereby files its sentencing position regarding defendant TREVON
23   MAURICE FRANKLIN.
24        This sentencing position is based upon the attached memorandum
25   of points and authorities and Exhibits A and B attached hereto, the
26   Presentence Investigation Report disclosed on August 15, 2018, the
27   //
28   //
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1    files and records in this case, and such further evidence and

2    argument as the Court may permit.

3    Dated: September 12, 2018            Respectfully submitted,

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8                                               /s/
                                          JENNIE L. WANG
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1                       MEMORANDUM OF POINTS AND AUTHORITIES
2    I.    INTRODUCTION
3          On June 14, 2018, defendant TREVON MAURICE FRANKLIN
4    (“defendant”) pleaded guilty pursuant to a plea agreement to the sole
5    count of the First Superseding Information, misdemeanor criminal
6    copyright infringement, in violation of 17 U.S.C. §§ 506(a)(1)(B) and
7    18 U.S.C. §§ 2319(a), (c)(3).       (Docket 40, Presentence Investigation
8    Report (“PSR”) ¶¶ 1-2.)      For the reasons set forth below, the
9    government recommends the high-end sentence of six months’
10   imprisonment, to be followed by a one-year term of supervised
11   release, and a mandatory special assessment of $100.
12   II.   THE PSR
13         The U.S. Probation Office’s (“USPO’s”) PSR, which was disclosed
14   on August 15, 2018, determined that defendant’s total offense level
15   is 8, based on the following:
16         Base Offense Level:              8          [U.S.S.G. § 2B5.3(a)]
17         Distribution of Work
           Being Prepared for
18         Commercial Distribution:        +2       [U.S.S.G. § 2B5.3(b)(2)]
19         Uploading:                      +2       [U.S.S.G. § 2B5.3(b)(3)]
20         No Financial Gain:              -2       [U.S.S.G. § 2B5.3(b)(4)]
21         Acceptance of                                   [U.S.S.G. § 3E1.1]
           Responsibility 1:               -2
22
     (PSR ¶¶ 20-30.)      All but the second factor were also agreed upon by
23
     the parties in the plea agreement.         (Docket 25, Plea Agreement ¶ 10.)
24
     Because the parties agreed in the plea agreement that either party
25
     could seek other Sentencing Guidelines adjustments, id. ¶ 9, the
26

27
           1The government agrees with the PSR’s finding of the adjustment
28   for acceptance of responsibility.
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1    government agrees with the USPO that an additional two levels should

2    be added pursuant to U.S.S.G. § 2B5.3(b)(2) for defendant’s

3    distribution of a work being prepared for commercial distribution.

4    However, these additional two levels do not change defendant’s

5    resulting guideline range.

6         The PSR also calculated a criminal history category of I based

7    on no criminal history points.       (PSR ¶ 37.)    Defendant’s resulting

8    advisory guideline range based on a level eight is zero to six

9    months’ imprisonment.     For the reasons set forth below, the

10   government recommends a custodial sentence at the high end of that

11   range of six months’ imprisonment, to be followed by a one-year

12   period of supervised release, and a mandatory special assessment of

13   $100.

14   III. OFFENSE CONDUCT
15        On February 20, 2016, defendant uploaded an unauthorized copy of

16   the movie Deadpool that he had downloaded from the Internet to his
17   Facebook account, under the name “Tre-Von M. King.”           (PSR ¶¶ 10-11.)

18   The victim in this case, Twentieth Century Fox Corporation (“Fox”),

19   is the copyright holder of the Deadpool movie franchise.            (Id. ¶ 10.)
20   When defendant uploaded Deadpool to his Facebook account, the movie
21   was still being shown in theaters and had not yet been made available

22   for the public to rent or purchase.         (Id. ¶ 12.)   The copy that

23   defendant made available to others to view on Facebook was viewed

24   over 6 million times in the two days between February 20 and 22,

25   2016.   (Id.)

26        Attached as Exhibit A is a copy of screenshots of defendant’s

27   Facebook page from February 22, 2016.         (Exhibit (“Exh.” A.)

28   Defendant posted on his Facebook page on February 20, 2018, at 8:20

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1    p.m.: “TO ALL MY FACEBOOK FRIENDS, I HOPE YOU ENJOY DEADPOOL THE FULL

2    MOVIE, WHICH IS POSTED ON MY WALL. I GOT YALL FOR THE JUGG💯💯            😎😎”
3    (Id. at TMPID00039; see also id. at TMPID00045 (defendant posted at

4    8:08 p.m. earlier that same day: “DEADPOOL (2016) FULL MOVIE WITH

5    GOOD AUDIO #LIKE #SHARE #COMMENT”).)        As described herein and

6    evidenced by Exhibit A, defendant interacted heavily with other

7    Facebook users who commented on his uploading of Deadpool.            (See
8    generally Exhibit A.)     Some users commented that defendant had

9    uploaded the full movie and that they were able to watch it.            (See,

10   e.g., id. at TPMID00011 (Roger Palmer posted: “Greg, this dude has a

11   full fuckin video of Deadpool on his fuckin facebook”); TMPID00016

12   (Gabrielle K Neal posted: “Yay!!! Just watched ya deadpool movie

13   thanks a lot!”); TMPID00022 (Shawn Lewis messaged defendant: “Bro my

14   friends in Oklahoma even watched your video             Damn,” to which

15   defendant responded by “liking” the message); TMPID00032 (Van

16   Helsingden Dylan posted: “Can I still download it? Lol,” to which

17   defendant responded, “Better hurry”); TMPID00039 (Marvin Ford

18   messaged defendant: “Bro really uploaded. Whole movie joint on here

19   lol,” to which defendant responded by “liking” the message);

20   TMPID0043 (Devon Fernandez posted: “Thnx for posting it I thought I

21   was never gonna see it c:”      Defendant replied, “Welcome.”        Shawn

22   Miller posted: “Thanks bro it was awesome”); TMPID00044 (Benjamin

23   Brooks posted: “Thanks for the movie big dog,” to which defendant

24   replied, “Welcome”); TMPID00048 (Zeke Torres posted: “they really

25   have the whole movie on here” and Jack Rogers posted: “this is how I

26   watched deadpool”).)

27        Defendant also indicated that he planned to continue illegally

28   uploading movies.     (See, e.g., id. at TMPID00026 (Tim Conklin posted:

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1    “You gunna get that new batman and superman?         Defendant responded,

2    “Wait on it, I got yall”); TMPID00029 (Avinash Brian Dabideen posted:

3    “On behalf of Trinidad, thanks for #deadpool. Can we expect the same

4    great service for #TMNT2 please?       Defendant responded, “Yesir will

5    do”).)    Defendant even created a Facebook group for the purpose of

6    illegally sharing movies with others, posting “EVERYBODY JOIN” in

7    relation to the Facebook group he created called “BOOTLEG MOVIES.”

8    (Id. at TMPID00011; see also id. at TMPID00013 (defendant posted: “I

9    Just Started A New Group Called ‘Bootleg Movies’ Go Look It Up And

10   Join #IfYouFuckWithMe #FuckWitIt💯💯 That’s Where I’m Post More Movies.
11   That’s Coming Out.”).)     Defendant also admitted that the link he

12   provided was available to the public.        (Id. at TMPID00017 (Krystal

13   May posted: “When I look up bootleg movies the page doesn’t pop up..

14   Can you fix that?     Defendant responded, “Its public, I don’t know

15   what you want me to fix?”).)

16        Many Facebook users warned defendant that his uploading of

17   Deadpool was a crime.     (See, e.g., id. at TPMID00014 (Sean Dalton
18   posted: “A reminder.” accompanied by a screenshot of the following

19   text: “(i) ‘The unauthorized reproduction or distribution of a

20   copyrighted work is illegal.       Criminal copyright infringement,

21   including infringement without monetary gain, is investigated by the

22   FBI and is punishable by fines and federal imprisonment.’”            Sean

23   Dalton also posted: “Take notice, it mentions nothing about profit.

24   You’re depriving profit from the studio.         I’d say roughly $20Mil

25   now.”    Sammy Hijazin responded: “It’s already viral”); TPMID00015

26   (Joe Byrne posted: “5 years federal prison. Huge fine. Have fun with

27   this.”); TMPID00043 (in response to another user calling defendant a

28   “FB legend,” John Corral posted: “He is not a legend… Its basically

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1    like he killed someone and is walking around covered in blood

2    bragging about it expecting not to be caught.. He is going to be

3    prosecuted and go to jail. That is not legend. That is dumbass”).)

4         Defendant’s reactions to being told that uploading Deadpool to
5    Facebook was a federal crime ranged from nonchalance to irritation.

6    (See, e.g., id. at TMPID00016 (defendant posted: “I’m fucking

7    straight, why tf yall haters worried about MY LIFE OR WHAT’S GONE

8    HAPPEN TO ME”); TMPID00022 (defendant posted: “All I did was upload

9    it, as far as the shares, likes, and comments I can’t controll what

10   people do on fb just what I do. So hate on the fact, that I still

11   dgaf about yall irrelevant ass individuals #ThatPart”); TMPID00024

12   (defendant posted: “I blocked that, opp ass n***a for tryna tag FBI n

13   shit”); TPMID00030 (defendant posted: “If it’s a crime, why my shit

14   ain’t got reported??? That part, Just stfu already”); TMPID00033

15   (Will Laraby posted: “From behind bars? I didn’t know you got the new

16   movies in jail?”    Defendant responded by correcting his grammar:

17   “*get”); TMPID00034 (Chris Shanks posted: “oh man..the ignorance of

18   people. ‘You aren’t profiting’ so it’s ok to show pirated movies.

19   Man, people like you make it easy for Feds or Police to find you.

20   That’s like robbing a bank and then posting it online. lol

21   smh. . . .”   Defendant replied, “Fuck off”); TMPID00037 (Cody Thomas

22   posted: “Why’s everyone mad you did this? I think it’s awesome you

23   posted this. Fuck paying them money . Thanks for the vid man!”

24   Defendant replied, “Idk but it’s getting annoying smh”); TMPID00042

25   (defendant posted: “Thank everyone that didn’t comment anything

26   negative Fuck those who did or still is           💯💯”).)   Defendant also
27   insisted that he would not go to jail for his crime: “Fuck 12, I got

28   the ultimate way out of this, yall might be surprised on how I won’t

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1    go to jail but just become more famous.”         (Id. at TMPID00035; see

2    also id. at TMPID00022 (defendant posted: “Woke up to see DeadPool

3    got 2.7 million views          damn Daniel! I see all these ppl talking

4    the Feds gone get me, well where they at??? I’m still going up”);

5    TMPID00024 (Greg Zeller posted: “You’re a fucking idiot, they’re

6    coming buddy just wait,” to which defendant responded, “Waiting

7    ....”); TMPID00034 (defendant posted: “Still waiting.....”);

8    TMPID00035 (defendant posted: “That’s why I’m just sitting back

9    smoking out my bong laughing at these mfs who think they know what

10   they talking I haven’t sold shit to anyone, or made copies. I haven’t

11   done anything illegal 💯💯.”); TMPID00038 (defendant posted: “FUCK THE
12   SYSTEM💯💯”).)
13   IV.   ANALYSIS OF THE SECTION 3553(A) FACTORS
14         A.    Nature and Circumstances of the Offense
15         Section 3553(a)(1) requires consideration of the nature and

16   circumstances of defendant’s crime in determining an appropriate

17   sentence.    While defendant’s crime is a misdemeanor due to the

18   “complex issues of fact related to the cause or amount of the

19   victim’s losses . . .” (PSR Letter at 1), the offense conduct itself

20   is serious, particularly in light of defendant’s attitude about it.

21   Given that the government has not pursued any loss related to

22   defendant’s crime (despite the fact that in two days alone, the video

23   of Deadpool that defendant uploaded was viewed over six million
24   times, and there is evidence that numerous people watched the movie

25   in its entirety), defendant has already effectively been given a

26   reduction in his sentence.      Defendant’s guidelines range therefore

27   represents an extremely fair assessment of the punishment that he

28   should face.    Given the brazen and public manner in which defendant

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1    both flouted the law (which was pointed out to him by several

2    Facebook users) and appeared not to care that he was willfully

3    infringing on Fox’s copyright (which was also pointed out to him by

4    Facebook users), and given defendant’s insistence that he was not

5    going to suffer any consequences for his crime, other than to “become

6    more famous” (Exh. A at TMPID00035), a custodial sentence of six

7    months’ imprisonment is both necessary and sufficient to address the

8    nature of circumstances of the offense and to reflect the seriousness

9    of the offense, to promote respect for the law, and to provide just

10   punishment for the offense.      See 18 U.S.C. § 3553(a)(2)(A).

11        B.    History and Characteristics of Defendant
12        Section 3553(a)(1) also calls for factoring the history and

13   characteristics of defendant into his sentence.          In mitigation,

14   defendant has a son.     However, in aggravation, defendant’s criminal

15   history underscores what the USPO has mildly characterized as his

16   “respect for the law . . . not [being] what it should be”:

17        Although [defendant] does not have any prior convictions,
          [he] has been charged with violent crimes involving his
18        child, his child’s mother, and another individual. This
          crime allegedly occurred after he committed the instant
19        offense. While on pretrial supervision, Franklin drank
          excessively and smoked marijuana.”
20
     (PSR Letter at 5.)     Attached as Exhibit B is a copy of the Fresno
21
     Police Departments reports regarding the domestic violence incident
22
     on May 23, 2017, during which defendant was arrested for assaulting
23
     his then-pregnant ex-girlfriend in front of their son.           (Exh. B.)
24
     His ex-girlfriend and the mother of his child (“V-1”) reported:
25
          . . . [Defendant] hit her. V-1 described the first hit to
26        be a slap to her left side of the face followed by a punch
          to the left side of her face as well. In shock, V-1 asked
27        [defendant] why had had hit her and she began getting
          attacked by [defendant]. She said [defendant] began
28        hitting multiple times to the body. Thier [sic] child was
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1          inside the stroller and almost got knocked out of it during
           the struggle.
2

3    (Id. at TMPID00368.)      Moreover, the May 23, 2017 incident was not the

4    first for which police were called to respond.          The reported domestic

5    violence history on defendant included police responding on November

6    16, 2015 (victim reported that defendant “puts his hands on [her]”)

7    (id. at TMPID00374); March 15, 2016 (victim reported that defendant

8    punched her two times in the thigh) (id.); and February 15, 2017

9    (victim reported that defendant grabbed her neck when they were

10   exchanging their child) (id. at TMPID00375).

11         This history considered in conjunction with defendant’s

12   performance while on pretrial supervision for the instant case shows

13   that a custodial sentence is necessary to address defendant’s

14   consistent and apparently escalating disrespect for the law.             Even

15   after defendant was arrested for the instant offense and released

16   pending resolution of this case, defendant had several instances of

17   not complying with the conditions of his release.           (See Docket 41,

18   PSA Letter Requesting Order to Show Cause Hearing as to Defendant

19   (“PSA Letter”).)     Defendant admitted to drinking alcohol to excess at

20   least four times a week; admitted to using marijuana on August 1,

21   2018, and again on August 27, 2018, when he advised that he used

22   marijuana “daily”; stated that he knew there was an active

23   restraining order against him restricting him from contacting V-1 but

24   was living with her; and admitted that “he knows he missed court for

25   his domestic violence case and knows he has an active bench warrant

26   for a failure to appear.”       (Id. at 2.)    After this Court ordered

27   defendant on September 6, 2018, to address his outstanding bench

28   warrant, defendant’s counsel reported that he did so.            (Docket 45,

                                             8
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1    Defendant’s Status Report.)       These facts serve to underscore the need

2    for this Court to address defendant’s history of noncompliance and

3    lack of respect for the law with a custodial sentence.

4          C.   Deterrence
5          Section 3553(a)(2)(B) requires sentences to “to afford adequate

6    deterrence to criminal conduct.”        18 U.S.C. § 3553(a)(2)(B).       Here, a

7    custodial sentence of six months’ imprisonment will do just that, as

8    it will show the general public that piracy is a serious offense with

9    serious consequences.      Indeed, defendant’s own words indicate that he

10   believed the opposite was true.        (See Exh. A.)    Without the necessary

11   consequence to defendant of a custodial sentence, all those thousands

12   of Facebook users who liked, followed, and posted about defendant’s

13   illegal uploading of Deadpool, as well as the general public could
14   erroneously believe that people do not suffer real consequences for

15   such a crime, which could have detrimental effects on the movie

16   industry and the individuals who make their livelihood from it.

17   V.    CONCLUSION
18         For the foregoing reasons, the government respectfully requests

19   that this Court sentence defendant to a sentence of six months’

20   imprisonment, to be followed by a one-year period of supervised

21   release, and a mandatory special assessment of $100.

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